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                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

IN RE:                                   )       Case No. 19-10562
                                         )
BCause Mining, LLC,                      )       Judge Janet S. Baer
                                         )       Chapter 11
         debtor/debtor-in-possession.    )       (Jointly Administered)


                                  NOTICE OF MOTION

TO:      ATTACHED SERVICE LIST

       PLEASE TAKE NOTICE that on the 8th day of August, 2019, at 10:00 a.m., or soon
thereafter as counsel can be heard, I shall appear before the Honorable Janet S. Baer,
Bankruptcy Judge, in the room usually occupied by her as Courtroom 615 in the United
States Bankruptcy Court in the Everett McKinley Dirksen Federal Building, 219 S.
Dearborn Street, Chicago, Illinois, or before any other Judge who may be sitting in her
place and stead and shall present the Motion for Extension of Time to Assume or
Reject Lease for Non-Residential Real Estate, a copy of which is attached hereto and
herewith served upon you, and shall pray for the entry of an Order in compliance
therewith.

         AT WHICH TIME and place you may appear if you so see fit.

                                                       /s/Scott R. Clar
                                                       Crane, Simon, Clar & Dan
                                                       135 S. LaSalle St., Ste. 3705
                                                       Chicago, Illinois 60603
                                                       (312) 641-6777

                               CERTIFICATE OF SERVICE

       The undersigned, being first duly sworn on oath deposes and states that he caused
a copy of the foregoing Notice and attached Motion to be served on all parties listed on
the attached Service List via the Court’s Electronic Registration on the 1st day of August,
2019 before the hour of 5:00 p.m.


                                                       /s/Scott R. Clar




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                                   SERVICE LIST

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                    IN THE UNITED STATES BANKRUTPCY COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

IN RE:                                    )       Case No. 19-10562
                                          )
BCause Mining, LLC,                       )       Judge Janet S. Baer
                                          )       Chapter 11
         debtor/debtor-in-possession.     )       (Jointly Administered)

                 MOTION FOR EXTENSION OF TIME TO ASSUME OR
                REJECT LEASE FOR NON-RESIDENTIAL REAL ESTATE

         BCAUSE MINING, LLC, debtor/debtor-in-possession (“Debtor”), by and through its

attorneys, makes its Motion Pursuant to Section 365 of the Bankruptcy Code for

Extension of Time to Assume or Reject Lease for Non-Residential Real Estate pursuant

to Section 365 of the Bankruptcy Code, respectfully states as follows:

A.       Introduction

         1.    On April 11, 2019, the Debtor filed its voluntary petition for relief under

Chapter 11 of the Bankruptcy Code (“Petition Date”).

         2.    The Debtor has been managing its financial affairs as debtor-in-possession

since the Petition Date.     No trustee or examiner has been appointed, and Official

Committee of Unsecured Creditors has been appointed to serve in this reorganization

case.

B.       Background

         3.    The Debtor is in in the business crypto currency mining, which is the

process of producing digital currency using cryptography and high-powered computers

known as mining rigs, or miners. The Debtor does not itself mine, but is a service provider

that hosts a mining venue for its customers.




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       4.     The Debtor provides a state of the art mining facility in Virginia Beach,

Virginia.

       5.     The Debtor is wholly owned by BCause LLC, which is a limited liability

holding company also formed in Virginia.

       6.     The Debtor’s Chapter 11 filing was triggered by a judgment entered in favor

of WESCO Distribution Inc. (“WESCO”) in the approximate amount of $1,300,000 and a

garnishment of BCause LLC’s bank account, from which all of the Debtor’s bills are paid,

including bills for utilities such as Dominion Energy, which had threatened to shut-off of

the Debtor’s utilities for non-payment, as of April 12, 2019.

       7.     The Debtor’s Plan of Reorganization is due on August 8, 2019.

C.     Extension of Time to Assume or Reject Lease for
       Non-Residential Real Property

       8.     Pursuant to Section 365 of the Bankruptcy Code, the Debtor must assume

or reject any unexpired leases for non-residential real property in which the Debtor is the

lessee by August 9, 2019.

       9.     By this Motion, the Debtor seeks an Order under Section 365(d)(4) of the

Bankruptcy Code extending the date by which the Debtor must assume or reject certain

non-residential leases for the following property:

              Triple Net Lease dated November 1, 2017 between BCause
              Mining, LLC and Hoffland Properties, Inc. for real property located at
              5465 Greenwich Road, Virginia Beach, VA 23462 (the “Mining
              Lease”).

A copy of the Mining Lease is attached hereto as Exhibit A.

       10.    The Mining Lease expires on October 31, 2027.




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       11.    The Debtor is in the process of preparing a plan of reorganization. The

Debtor does not want to burden the estate with the potential administrative claim resulting

from assumption of the Mining Lease and hasn’t determined if the Mining Lease is

financially burdensome and should be rejected.

       12.    The Debtor requires additional time to resolve its Chapter 11 case, without

the added burden of assuming the lease at this time.

       13.    Courts have routinely granted extensions of the assumption or rejection

time period for cause.

       14.    In order to determine whether cause exists for an extension of the deadline

for a debtor to assume or reject non-residential leases in which the debtor is the lessee,

courts have relied on several factors, including the following:

              a.     whether the case is complex and involves a large number of leases;

              b.     whether the lease is primary among the debtor’s assets;

              c.     whether the lessor continues to receive post-petition rental
                     payments;

              d.     whether the continued occupation could damage the lessor and such
                     lessor could not receive compensation under the Bankruptcy Code;
                     and

              e.     whether the debtor has been afforded enough time to develop a plan.
                     See S. St. Seaport L.P. v. In re Burger Boys, Inc. (In re Burger Boys,
                     Inc.), 94 F.3d 755, 761 (2d Cir. 1996).


       15.    Cause exists to extend the deadline to assume or reject the Lease in that

the Debtor is in the process of formulating and filing its plan of reorganization, and needs

additional time to assume or reject the Mining Lease.

       16.    The Debtor is current in its obligations under the Mining Lease.



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D. Relief Requested

       17.    Pursuant to Section 365(d)(1) of the Bankruptcy Code, the Debtor may seek

to extend the time to assume or reject executory contracts.

       18.    By this Motion, the Debtor requests the entry of an Order extending the time

by which it must assume or reject the Mining Lease for sixty (60) days, through and

including October 9, 2019 so that it can fully explore the facts, circumstances and potential

benefits and detriments of assuming or rejecting the Mining Lease.



       WHEREFORE, BCAUSE MINING, LLC, debtor/debtor-in-possession, prays for

the entry of an Order as follows:

       A.     Extending the date by which the Debtor must assume or reject the Mining

Lease from August 9, 2019, through and including October 9, 2019; and

       B.     Granting such other relief as may be just and appropriate.

                                          BCAUSE MINING, LLC

                                          By: \s\ Scott R. Clar
                                                 One of its attorneys


DEBTOR’S COUNSEL:
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W:\MJO2\BCause Mining LLC\Ext Time A/R Leases.mot and NOM




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